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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR125
                     Plaintiff,                    )
                                                   )
       vs.                                         )
                                                   )
JAMES HASHBERGER,                                  )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion of defendant James Hashberger
(Hashberger) for a continuance (Filing No 27). Hashberger is joined with defendant Jura.
Jura is scheduled for a motion hearing on June 6, 2005. Accordingly, trial will not be
rescheduled until the disposition of Jura’s motion to suppress. Hashberger’s motion to
continue (Filing No. 27) is denied as moot.
       IT IS SO ORDERED.
       DATED this 31st day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
